Case 8:18-cv-01041-GJH Document 218 Filed 09/12/19 Page 1 of 1
Case 8:18-cv-01041-GJH Document 217-1 Filed 09/11/19 Page 1 of 1

 

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UNITED STATES DISTRICT COURT a
FOR THE DISTRICT OF MARYLAND curs o&P 2 AM In
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ROBYN KRAVITZ, et al. Case No.: 18-cv-1041-GJH © <—St
Plaintiffs,
Vv. Hon. George J. Hazel

UNITED STATES DEPARTMENT OF
COMMERCE, et al.

Defendants.

 

 

{PROPGSED| ORDER

Upon the parties’ Second Joint Motion to Extend Briefing Schedule on Plaintiffs’ Motion
for Award of Attorney’s Fees and Costs, dated September 11, 2019, the Court having considered
the submissions of the parties, IT IS HEREBY ORDERED that the Motion is GRANTED; and

IT IS FURTHER ORDERED THAT on or before September 27, 2019, Plaintiffs shall
file an amended or supplemental motion for attorney’s fees and costs (the “Amended Motion”);
and

IT IS FURTHER ORDERED THAT Defendants’ opposition to the Amended Motion
shall be due 14 days after the Amended Motion is filed: and

IT IS FURTHER ORDERED THAT Plaintiffs’ reply in support of the Amended Motion

shall be due 14 days after Defendants’ opposition is filed.

Dated this _| (try, of Se phobe/2019 eA /

UNITED STATES DISTRICT JUDGE
